                                           UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF NORTH CAROLINA
                                                CHARLOTTE DIVISION
                                          DOCKET NO. 3:22-cv-00103-FDW-DCK
                YA ANNIA SHEN,                                     )
                                                                   )
                           Plaintiff,                              )
                                                                   )
                vs.                                                )
                                                                   )                   ORDER
                AKOUSTIS TECHNOLOGIES, INC.,                       )
                                                                   )
                           Defendant.                              )
                                                                   )
                                                                   )

                       THIS MATTER is before the Court after a telephone conference regarding a discovery

               dispute over Plaintiff’s Deposition, which is to take place on October 13, 2022. Both parties made

               oral arguments concerning which individuals Defendant may properly have present during

               Plaintiff’s Deposition. Based on the sequestration issues and other concerns discussed during this

               telephone conference, this Court holds that Defendant’s former employee, Mr. Holden, shall not

               be present for Plaintiff’s Deposition.    The parties agree, however, that Defendant Akoustis

               Technologies, Inc.’s General Counsel may be present for Plaintiff’s Deposition, to take place on

               October 13, 2022.

                       IT IS THEREFORE ORDERED that Defendant’s former employee, Mr. Holden, is

               prohibited from attending Plaintiff’s Deposition.

                       IT IS SO ORDERED.


Signed: October 13, 2022




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